Case 1:24-cv-07975-AT   Document 49-1   Filed 12/18/24   Page 1 of 17




             EXHIBIT 1
      Case
        Case
           1:24-cv-07975-AT
              2:24-cv-02873          Document 149-1Filed
                                                       Filed
                                                         12/13/24
                                                             12/18/24Page
                                                                        Page
                                                                          1 of210
                                                                                of 17




                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA

ADAM GUIDRY,                                      §
    Plaintiff                                     §
                                                  §
v.                                                §      Civ. Action No.: 2:24-cv-02873
                                                  §
ANTHONY G. BUZBEE and                             §      JURY TRIAL DEMANDED
ANTHONY G. BUZBEE LP                              §
(d/b/a THE BUZBEE LAW FIRM) and,                  §
JOHN DOES 1-10                                    §
        Defendants                                §

                                          COMPLAINT

       Plaintiff Adam Guidry, by and through undersigned counsel, files this Complaint against

Defendants Anthony G. Buzbee (“Tony Buzbee”), Anthony G. Buzbee LP (d/b/a The Buzbee Law

Firm) (“The Buzbee Law Firm”) (collectively, “Buzbee” or “Buzbee Defendants”) and JOHN

DOES 1-10.

                                       INTRODUCTION

       1.      Tony Buzbee and The Buzbee Law Firm represented Adam Guidry, a U.S. Coast

Guard-licensed ship captain who was severely injured on the job. The Buzbee Defendants told

Guidry his case was worth $1 million, but later coerced him into settling for less than one-third of

that amount. In insisting that he settle, Buzbee Defendants never explained Guidry’s options, never

discussed the pros and cons of trial versus settlement, never disclosed mounting expenses, and

never disclosed the meager amount Guidry would receive at distribution. Instead, Buzbee

Defendants told Guidry he had no choice. Guidry was vulnerable. He had lost his job as a result

of his injury, he was financially destitute, his marriage had failed, and he was struggling with

addiction. Relying on his lawyers, Guidry accepted.

       2.      When the settlement funds were disbursed, Guidry was stunned to receive only

$5,123.19. The Buzbee Defendants had taken 98% of Guidry’s final disbursement and 74% of his
        Case
          Case
             1:24-cv-07975-AT
                2:24-cv-02873          Document 149-1Filed
                                                         Filed
                                                           12/13/24
                                                               12/18/24Page
                                                                          Page
                                                                            2 of310
                                                                                  of 17




overall settlement. The Buzbee Law Firm deducted $53,000.00 in fees and $266,876.81 1 in

“expenses” including: $90,920.33 for expert witness fees; $5,935.01 for postage and copies;

$9,763.20 for more copies; $9,493.05 for attorney travel expenses; and, adding insult to injury,

$150.00 for “closing” fees. Moreover, the Buzbee Defendants deducted $25,723.42 in fees and

expenses for a referring attorney who, despite promptly handing-off Guidry, claimed he

accumulated $4,523.42 in expenses.

        3.      Worst of all, perhaps, the Buzbee Defendants charged Guidry $23,571.51 in

“interest” on $85,450.00 in “loans.” The Rules of Professional Conduct 2 require fairness and

transparency in any financial transaction with a client. Even then, the amount of interest a lawyer

can charge a client is limited. The Buzbee Defendants kept Guidry in the dark as his loans grew

by 27%. This exploitative practice not only violated ethical standards, but also compounded

Guidry’s financial hardship and vulnerability.

        4.      The Buzbee Defendants breached their legal and ethical duties to Guidry. Along

with John Does 1-10, the Buzbee Defendants unjustly enriched themselves at Guidry’s expense.

Such conduct would be unethical in a standard business transaction. It is unconscionable in an

attorney-client relationship.

                                               PARTIES

        5.      Plaintiff ADAM GUIDRY is a citizen of the State of Louisiana who resides in

Lafourche Parish, Louisiana.

        6.      Defendant ANTHONY G. BUZBEE is a citizen of Texas who, on information and

belief, resides in Harris County, Texas.



    1
      $85,450.00 of this amount was for “loans” to Guidry and $13,635.00 was to satisfy a third-party loan
Guidry had taken out for living expenses.
    2
      This is true under the American Bar Association’s Model Rules of Professional Conduct, the Texas
Disciplinary Rules of Professional Conduct, and the Louisiana Rules of Professional Conduct.
                                                    2
       Case
         Case
            1:24-cv-07975-AT
               2:24-cv-02873          Document 149-1Filed
                                                        Filed
                                                          12/13/24
                                                              12/18/24Page
                                                                         Page
                                                                           3 of410
                                                                                 of 17




       7.      Defendant ANTHONY G. BUZBEE L.P. (d/b/a The Buzbee Law Firm) is a law

firm that is organized under the laws of State of Texas and that operates its principal place of

business from Harris County, Texas. Upon information and belief, no members or employees of

The Buzbee Law Firm’s limited partnership reside in the State of Louisiana.

       8.      JOHN DOES 1-10 are individuals or entities whose identities are currently

unknown, but who participated in, contributed to, or benefited from the wrongful actions described

herein. These parties may include, but are not limited to, employees, agents, or affiliates of Tony

Buzbee, The Buzbee Law Firm, or other individuals or entities involved in handling Guidry's case

and settlement. Upon information and belief, JOHN DOES 1-10 are not residents of the State of

Louisiana. They will be added as their identity and respective roles in the wrongful conduct

described herein becomes known through discovery.

                                   JURISDICTION & VENUE

       9.      This Court has jurisdiction pursuant to 28 U.S.C. § 1332. Guidry is a citizen of

Louisiana, Buzbee Defendants are citizens of Texas, and the amount in controversy exceeds

$75,000 exclusive of costs and interest.

       10.     Defendants have sufficient “minimum contacts” with the State of Louisiana

including: (i) Defendants contacted Guidry in the State of Louisiana for the purpose of soliciting

him as their client; (ii) Defendants mailed and emailed their contract for employment of attorney

to Guidry in Louisiana; (iii) Defendants insisted that Guidry sign documents in Louisiana using a

notary public authorized by the State of Louisiana; and (iv) Defendants committed acts of

commission and omission in the State of Louisiana including by breaching duties owed to Guidry

while unjustly enriching themselves.

       11.     Venue in this District is proper pursuant to 28 U.S.C. § 1391 because a substantial

part of the events giving rise to the claims occurred in this District.

                                                   3
       Case
         Case
            1:24-cv-07975-AT
               2:24-cv-02873          Document 149-1Filed
                                                        Filed
                                                          12/13/24
                                                              12/18/24Page
                                                                         Page
                                                                           4 of510
                                                                                 of 17




                                              FACTS

       12.     Tony Buzbee is a relentless self-promoter. The Buzbee Defendants rely on Tony

Buzbee’s quasi-celebrity status to lure Louisiana residents, such as Guidry, to The Buzbee Law

Firm. Tony Buzbee draws attention to himself and his Firm by representing and suing celebrities,

by broadcasting his wealth on social media, and, recently, by parking a WWII tank in front of his

home in an affluent Houston neighborhood.

       13.     In 2020, Guidry was referred to the Buzbee Law Firm. Guidry had been severely

injured while working aboard the General Eisenhower.

       14.     In February 2020, The Buzbee Law Firm filed suit against Callan Marine, Ltd.

(“Callan Marine”), the owner of the General Eisenhower. 3

       15.     Despite initially valuing Guidry’s claim at $1 million, the Buzbee Defendants

coerced Guidry into settling his case for less than one-third of that amount. In doing so, the Buzbee

Defendants failed to inform Guidry of his options including the implications of settlement versus

trial. The Buzbee Defendants concealed critical information from Guidry about skyrocketing

expenses and the paltry amount Guidry would receive upon settlement. Relying on his lawyers,

Guidry settled for $325,000.00. When these funds were distributed, Guidry received $5,123.19.

The Buzbee Defendants kept Guidry uninformed and exploited his vulnerability to unjustly

enriched themselves.

       16.     Based on information and belief, Buzbee Defendants have a pattern of using these

predatory practices against their clients.

       17.     Buzbee represented Guadalupe Garza, who was injured while working on a vessel

owned by Callan Marine. Buzbee sued Callan Marine in Nueces County, Texas. Under federal



   3
      See Adam Paul Guidry v. Callan Marine Ltd., 2020-13178, 270th Dist. Court of Harris County, Tex.
(Feb. 27, 2020) (the “Texas Lawsuit”).
                                                  4
      Case
        Case
           1:24-cv-07975-AT
              2:24-cv-02873           Document 149-1Filed
                                                        Filed
                                                          12/13/24
                                                              12/18/24Page
                                                                         Page
                                                                           5 of610
                                                                                 of 17




law, Garza was entitled to receive maintenance and cure payments. According to court filings,

Callan Marine was instructed to make maintenance and cure payments for Garza to The Buzbee

Law Firm, but Garza never received the payments. See Garza v. Callan Marine, Ltd., 2020CCV-

61002-3, Nueces County, Tex. Callan Marine subpoenaed records from the Buzbee Law Firm to

find out where the payments went. Rather than providing records in defense of their actions, the

Buzbee Defendants opposed the subpoena.

       18.       At a hearing in the Garza case, Callan Marine’s counsel stated that: (a) other

Buzbee clients have reported not receiving maintenance and cure paid to The Buzbee Law Firm;

(b) according to records, Buzbee Defendants deposited maintenance and cure payments into its

operating account rather than its trust account; and (c) The Buzbee Law Firm apparently

repackages maintenance and cure payments intended to provide living expenses for injured

workers into loans which must be repaid with interest.

       19.       A similar case illustrates a pattern. In Thompson v. Buzbee, the Buzbee Law Firm

allegedly misappropriated maintenance and cure payments owed to Matthew Ray Thompson Jr.,

a deckhand injured when his vessel collided with another. Like Guidry, Thompson alleges he was

kept in the dark as the Buzbee Law Firm ran up expenses including high interest “loans” to

Thompson. See Thompson v. Buzbee, Civ. Action No. 2:24-cv-02827, E.D. La. Dec. 9, 2024.

       20.       In another case, Callen Marine moved to designate Buzbee, The Buzbee Law Firm,

and Chris Leavitt (an attorney at The Buzbee Law Firm) as responsible third-parties for

maintenance and cure that Callen Marine paid but its client, Laquille Tyner, never received. See

Tyner v. Callan Marine, Ltd., 2020CCV-61393-2, Nueces County, Tex. In its motion, Callan

Marine stated:

                 In connection with these contested allegations, but in compliance with its
                 obligations under the [Jones] Act, Defendant, Callan paid maintenance and
                 cure payments to the Anthony G. Buzbee, LP (the “Buzbee Firm”). These
                 funds, which even included some of Mr. Tyner’s unearned advances, were
                                                 5
         Case
           Case
              1:24-cv-07975-AT
                 2:24-cv-02873        Document 149-1Filed
                                                        Filed
                                                          12/13/24
                                                              12/18/24Page
                                                                         Page
                                                                           6 of710
                                                                                 of 17




               paid to the Buzbee Firm because that was following their demand. Callan
               was unaware that they were not getting the credit that was due or that these
               payments were being converted by the Buzbee firm to appear as tokens of
               their own generosity. It is clear that Mr. Tyner alleges in his pleading that
               he did not receive all funds he thought were due from Callan and that he
               was harmed by the conduct. What Mr. Tyner did not know was that it was
               his own lawyers that were intercepting the funds and that his own attorney
               failed to place them in an IOLTA account. Even worse, these same attorneys
               have attempted to conceal their own shameful conduct and transform it into
               a larger damage award for their client. It was the conduct of the Responsible
               Third Parties that created the lawyer induced disappointment of Mr. Tyner
               in his employer Callan. It was these same lawyers, and this law firm, who
               failed to protect said funds in an IOLTA account or distribute them properly
               to Mr. Tyner.

         21.   In Haywood v. Univ. of Pittsburgh, a federal court invalidated Buzbee’s referral

agreement as “invalid as a matter of public policy.” No. 11-1200, 2012 U.S. Dist. LEXIS 179045,

at *2.

         22.   In In re Lowe’s Home Ctrs., LLC, Buzbee was found to be filing “venue pleadings

and [his client’s] affidavit” was “at best, incorrect, and at worst, fraudulent.” 531 S.W.3d 861 (Tex.

App. 2017). To avoid consequences, Buzbee unilaterally nonsuited the case and refiled it

elsewhere.

         23.   Tony Buzbee’s misconduct apparently is not limited to client finances. According

to a news report less than a month ago, Tony Buzbee flew into a fit of rage and physically assaulted

a client that he was representing in a divorce. The client alleges that after Buzbee assaulted her in

public, his focus became concealing the assault rather than protecting her interests in the divorce

action.4




    4
         Attorney Repping Alleged Victims Sued for Assault, Nov. 21, 2024,
https://www.tmz.com/2024/11/21/diddy-attorney-tony-buzbee-sued-accused-of-assault/ (“[S]he
is alleging she was in a public place when Buzbee saw her, flew into a ‘fit of rage’ and allegedly
pushed a champagne flute into her face, chipping her tooth. She says she has both medical and
dental records to prove her injuries. . . . The woman’s lawyer, Jeremy Bohrer, tells TMZ, ‘Tony
Buzbee is a hypocrite. There is nothing worse than when a black hat masquerades as a white hat.’”).
                                                  6
       Case
         Case
            1:24-cv-07975-AT
               2:24-cv-02873           Document 149-1Filed
                                                         Filed
                                                           12/13/24
                                                               12/18/24Page
                                                                          Page
                                                                            7 of810
                                                                                  of 17




                                       CAUSES OF ACTION

                       COUNT I: BREACH OF FIDUCIARY DUTIES

          24.   Guidry incorporates the preceding paragraphs by reference, as if restated fully

herein.

          25.   Guidry had an attorney-client relationship with Buzbee Defendants. As his

attorneys, Buzbee Defendants owed Guidry duties of loyalty and care including to act in his best

interests, to keep him informed, to advise him concerning options, to safeguard his funds, to put

his interests above their own, and to provide competent representation.

          26.   Buzbee Defendants breached these duties to Guidry including by failing to keep

him informed regarding his litigation; failing to advise him concerning his options; misleading him

concerning the value of his claim; failing to manage expenses reasonably in relation to the value

of his claim; charging him excessive interest on advances; and claiming a grossly excessive portion

of Guidry’s settlement for themselves.

          27.   Buzbee Defendants’ acts, omissions, and breaches have damaged Guidry in an

amount that will be proven at trial.

                             COUNT II: UNJUST ENRICHMENT

          28.   Guidry incorporates the preceding paragraphs by reference, as if restated fully

herein.

          29.   Buzbee Defendants, along with John Does 1-10, intentionally and/or negligently

exploited their position of trust and authority as Guidry’s attorneys to unjustly enrich themselves

at Guidry’s expense. Without limitation, the Buzbee Defendants failed to keep Guidry informed

during the representation, failed to advise him of his options, and failed to disclose to him the

ramifications of settlement versus trial. The Buzbee Defendants denied Guidry opportunities to

approve or reject costly experts; inflated and concealed expenses that were not reasonable given


                                                 7
       Case
         Case
            1:24-cv-07975-AT
               2:24-cv-02873         Document 149-1Filed
                                                       Filed
                                                         12/13/24
                                                             12/18/24Page
                                                                        Page
                                                                          8 of910
                                                                                of 17




the value of Guidry’s settlement; and failed to reasonably manage, protect, and preserve Guidry’s

funds. Additionally, the Buzbee Defendants overcharged Guidry by running up expenses and

charging excessive interest on loans.

       30.     John Does 1-10 are individuals or entities whose identities are currently unknown

but who participated in, contributed to, or benefited from the wrongful actions described herein,

including the acts and omissions that led to the unjust enrichment of themselves and the Buzbee

Defendants.

       31.     A claim for unjust enrichment requires proof of five elements: (1) an enrichment of

the defendant; (2) an impoverishment of the plaintiff; (3) a causal connection between the

enrichment and the impoverishment; (4) an absence of justification or cause for either the

enrichment or the impoverishment; and (5) the lack of any other remedy at law. See Moroux v.

Toce, 06-831 (La. App. 3 Cir. 11/02/06), 943 So. 2d 1263, 1273. The Buzbee Defendants and John

Does 1-10 were enriched by appropriating Guidry’s settlement funds, inflating and concealing

expenses, and imposing excessive interest and fees on loans for living expenses. Guidry was

correspondingly impoverished by these actions, as these funds, intended to support his recovery,

were unjustly diverted for the benefit of the Buzbee Defendants.

       32.     There is no justification or cause for attorneys using concealment and deceit to

enrich themselves while impoverishing their client. Guidry lacks an adequate remedy at law

because, among other things, the Buzbee Defendants violated fiduciary duties that do not exist in

traditional contract claims.

       33.      As a direct result of their intentional and/or negligent acts and omissions, Buzbee

Defendants and John Does 1-10 wrongfully obtained financial benefits to which they were not

entitled. Their unjust enrichment was at the expense and impoverishment of Guidry.




                                                8
       Case
          Case
            1:24-cv-07975-AT
                2:24-cv-02873         Document
                                      Document 49-1
                                               1 Filed
                                                    Filed
                                                       12/13/24
                                                          12/18/24 Page
                                                                     Page
                                                                        9 of1010of 17




            34.   Guidry seeks restitution and an award of damages in an amount, to be proven at

trial, sufficient to disgorge improper financial benefits obtained by the Buzbee Defendants and

John Does 1-10 and to compensate Guidry for his losses.

                                   COUNT III: NEGLIGENCE

            35.   Guidry incorporates the preceding paragraphs by reference, as if restated fully

herein.

            36.   Buzbee Defendants and John Does 1-10 negligently failed to exercise reasonable

care and skill of competent attorneys while representing Guidry. Without limitation, the Buzbee

Defendants failed to manage Guidry’s case and its expenses; failed to keep Guidry informed about

material aspects of his case; failed to include Guidry in decisions concerning expenditures on

experts; failed to advise Guidry of his options concerning settlement versus trial; and failed to

disclose to Guidry the impact excessive expenses would have on his recovery.

            37.   Buzbee Defendants and John Does 1-10 further failed to reasonably manage,

safeguard, and protect Guidry’s interest in future settlement proceeds by inflating and/or failing to

control expenses in a reasonable manner in relation to the value of Guidry’s case.

            38.   As a direct and proximate result of the negligent acts and omissions of Buzbee

Defendants and John Does 1-10, Guidry suffered financial harm and other damages to be proven

at trial.

            39.   Guidry seeks an award that will fully compensate him for the harm caused by the

negligent acts and omissions of Buzbee Defendants and John Does 1-10.

                                     REQUEST FOR RELIEF

            WHEREFORE, PREMISES CONSIDERED, Plaintiff Adam Guidry prays for judgment

against Defendants Anthony G. Buzbee, Anthony G. Buzbee L.P. (d/b/a The Buzbee Law Firm),

and JOHN DOES 1-10 in the form of a judgment against Defendants on all counts and an award


                                                 9
      Case
        Case
           1:24-cv-07975-AT
              2:24-cv-02873         Document 149-1Filed
                                                      Filed
                                                        12/13/24
                                                            12/18/24Page
                                                                       Page
                                                                         10 of
                                                                            1110
                                                                               of 17




in excess of $250,000 including disgorgement of unjustly obtained benefits, actual damages,

statutory damages, punitive damages, reasonable and necessary attorney and expert fees, court

costs, and all other relief the Court may deem appropriate.

       Dated: December 13, 2024.

                                      Respectfully submitted,

                                      ADAM GUIDRY


                                      By: Timothy W. Porter
                                          Tim Porter, La. Bar No. 24863


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                                                10
Case
   Case
     1:24-cv-07975-AT
        2:24-cv-02873   Document 49-1
                                 1-1 Filed
                                      Filed12/13/24
                                            12/18/24 Page
                                                      Page112
                                                            of of
                                                               2 17
Case
   Case
     1:24-cv-07975-AT
        2:24-cv-02873   Document 49-1
                                 1-1 Filed
                                      Filed12/13/24
                                            12/18/24 Page
                                                      Page213
                                                            of of
                                                               2 17
Case
   Case
     1:24-cv-07975-AT
        2:24-cv-02873   Document 49-1
                                 1-2 Filed
                                      Filed12/13/24
                                            12/18/24 Page
                                                      Page114
                                                            of of
                                                               2 17
Case
   Case
     1:24-cv-07975-AT
        2:24-cv-02873   Document 49-1
                                 1-2 Filed
                                      Filed12/13/24
                                            12/18/24 Page
                                                      Page215
                                                            of of
                                                               2 17
Case
   Case
     1:24-cv-07975-AT
        2:24-cv-02873   Document 49-1
                                 1-3 Filed
                                      Filed12/13/24
                                            12/18/24 Page
                                                      Page116
                                                            of of
                                                               2 17
Case
   Case
     1:24-cv-07975-AT
        2:24-cv-02873   Document 49-1
                                 1-3 Filed
                                      Filed12/13/24
                                            12/18/24 Page
                                                      Page217
                                                            of of
                                                               2 17
